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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                      CRIM. CASE NO. 13-20892
               Plaintiff,

v.                                                    PAUL D. BORMAN
                                                      UNITED STATES DISTRICT JUDGE

D-14 KUTUB MESIWALA,

            Defendant.
_____________________________/


                       ORDER DENYING DEFENDANT’S MOTION
                          TO SET ASIDE BOND CONDITIONS

       At a hearing on October 14, 2014, the Court heard argument on Defendant’s Motion to

Set Aside Bond Conditions that prevented Defendant from billing any Federal Health Care

program directly or indirectly. (Dkt. #218).

       On October 2, 2014, Magistrate Judge Steven Whalen, after a bond hearing, had ordered,

that Defendant be released subject, inter alia, to condition “(t) no billing of medicare or any

other federal health care program.”

       At the October 14, 2014 hearing, the Court denied Defendant’s Motion, ruling:

               With regard to the billing of Medicare or any other federal health
               care programs while this matter is proceeding, I think that both
               based on the record of Defendant’s admissions to agents as stated
               by the Assistant U.S. Attorney, the beneficiaries that were
               interviewed as well, and his prior conviction for abusing his
               profession and the charges in this case both in the substantive
               counts, while they’re de minimis, certainly the counts charging the
               conspiracy and filled in a bit by the statements by the prosecutor in
               court indicate a basis for continuing the condition that is set forth

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               in Magistrate Judge Whalen’s order. And I would also extend it to
               billing, directly or indirectly, of Medicare or any other federal
               health care program during the pendency of this case.

       In accepting release on conditions; this Defendant accepting the condition of “no billing.”

Given the charges in this case against Defendant, and the proferred evidence against him

including statements from co-conspirators, his own admissions, and his prior conviction for (1)

distribution of schedule II controlled substances, (2) Omission of Material Information from

Required Federal Controlled Substance Records, and (3) Laundering of Monetary Instruments,

this Court concludes, there is clear and convincing evidence, it would be a danger to the

community to permit him to continue rendering services and billing the Government.

       SO ORDERED.



                                             s/Paul D. Borman
                                             PAUL D. BORMAN
                                             UNITED STATES DISTRICT JUDGE

Dated: October 27, 2014



                                 CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or
party of record herein by electronic means or first class U.S. mail on October 27, 2014.


                                             s/Deborah Tofil
                                             Case Manager




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